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04

05                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
06                                       AT SEATTLE

07
     UNITED STATES OF AMERICA,            )
08                                        )
                 Plaintiff,               )           Case No. 06-414 M
09                                        )
           v.                             )
10                                        )
     FRANKIE ROBINSON BUTLER,             )           DETENTION ORDER
11                                        )
                 Defendant.               )
12   ____________________________________ )
13 Offenses charged:

14          Count 1: Felon in Possession of a Firearm in violation of 18 U.S.C. § 922 (g)(1).

15          Count 2: Possession of Cocaine Base with Intent to Distribute (five grams or more) in

16 violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(iii).

17 Date of Detention Hearing: August 8, 2006

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth,

20 finds the following:

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

23 defendant is a flight risk and a danger to the community based on the nature of the pending

24 charges. Application of the presumption is appropriate in this case.

25          (2)    If convicted of the pending charges, the defendant could face a substantial

26 period of time in prison.

     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01          (3)    Defendant’s background history check reveals a lengthy criminal record,

02 including six felony convictions.

03          (4)    Defendant has had past substance-abuse problems, and it appears that those

04 problems may be ongoing.

05          (5)    Defendant has prior failures to appear, although these are for older chargers,

06 and defendant’s recent history does not reflect failures to appear.

07          (6)    There are no conditions or combination of conditions, other than detention,

08 that will reasonably assure the appearance of defendant as required, or the safety of the

09 community.

10          IT IS THEREFORE ORDERED:
11          (1)    Defendant shall be detained pending trial and committed to the custody of the
12                 Attorney General for confinement in a correction facility separate, to the
13                 extent practicable, from persons awaiting or serving sentences or being held in
14                 custody pending appeal;
15          (2)    Defendant shall be afforded reasonable opportunity for private consultation
16                 with counsel;
17          (3)    On order of a court of the United States or on request of an attorney for the

18                 government, the person in charge of the corrections facility in which

19                 defendant is confined shall deliver the defendant to a United States Marshal

20                 for the purpose of an appearance in connection with a court proceeding; and

21          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

22                 counsel for the defendant, to the United States Marshal, and to the United

23                 States Pretrial Services Officer.



                                                         A
24                 DATED this 8th day of August, 2006.

25
                                                         JAMES P. DONOHUE
26                                                       United States Magistrate Judge

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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